Case 8:17-cv-01578-JDW-MAP Document 67-2 Filed 05/23/18 Page 1 of 2 PageID 1914




                                                                    E
                                                                    X
                                                                    H
                                                                    I
                                                                    B
                                                                    I
                                                                    T

                                                                     2
      Case 8:17-cv-01578-JDW-MAP Document 67-2 Filed 05/23/18 Page 2 of 2 PageID 1915


Isani, Jamie Zysk

From:                            Christopher Turner <chris@crtlegal.com>
Sent:                            Friday, May 18, 2018 10:18 AM
To:                              Isani, Jamie Zysk
Cc:                              Bill Osborne; Elizabeth Dunnigan; Lee, Corey; Chad K. Lennon (Lennon@bmelaw.com);
                                 lowrey@bmelaw.com
Subject:                         Re: Colon v. SEIDS - Response to Plaintiff's Fourth Request to Produce



Jamie,

We will get you a spreadsheet of the refusals that list their items numbers but it will be all of the refusals on his
settlement sheets. Until we see the back ups to the refusals we cannot gauge whether they were paid properly.

What documents (including electronic documents) does your client have that would show whether these
deliveries were in fact refused by the customer. Perhaps there is way we can streamline this if we know how the
documents are stored or can be accessed.
Sincerely,

Christopher R. Turner, Esq.




1305 E. Robinson St.
Orlando, Fl 32801

P: (407) 796-2278
F: (407) 630-8737
www.crtlegal.com




On May 17, 2018, at 5:47 PM, Isani, Jamie Zysk <jisani@hunton.com> wrote:

Chris, it would be helpful if you could send a spreadsheet with the order number (item) and the date of the
refusal entry (or the date of the settlement sheet on which it appears). Once we have a handle on the number of
refusals with respect to which you are seeking discovery and whether they are identifiable, we can assess the
burden involved and provide you with our position.

Regards,
Jamie


                                                          1
